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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    ) INDICTMENT NO: 1:21-cr-00048
                                                      )
SAMMIE LEE SIAS ,                                     )
                                                      )
       Defendant.                                     )
                                                      )

                                             ORDER

       Presently pending before the Court is the Defendant’s Motion to Extend the Time to

Amend Defendant’s Motion for New Trial, due on October 14, 2022.

       After careful consideration, this Court finds that this request has not been made for the

purpose of undue delay but in the interest of justice. The Court further finds that the ends of

justice are served by granting such a continuance.

       Accordingly, after consideration of the factors set forth in 18 U.S.C. § 3161(h)(7)(A), and

finding just cause to support the same, the Court GRANTS the continuance.

       THEREFORE, IT IS ORDERED that the Defendant’s Motion to Extend the Time to

Amend Defendant’s Motion for New Trial is GRANTED. The time to Amend Defendant’s

Motion for a New Trial is extended until a time to be set by further order of the Court.


SO ORDERED this __________ day of _____________________ 2022.


                                              ________________________________________

                                              HON., __________________________________
                                              JUDGE / MAGISTRATE JUDGE
                                              UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF GEORGIA
